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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


DR. THOMAS HUBBARD, PHD,                            )
                                                    )
               Plaintiff,                           )
                                                    )          No. 1:20-cv-1140
v.                                                  )
                                                    )
HOLLIE GREEN,                                       )
                                                    )
               Defendant.                           )


                     PARTIES’ STIPULATION REGARDING SERVICE
                       AND TIME TO RESPOND TO COMPLAINT

                                            I. Background

     1. Plaintiff Dr. Thomas Hubbard (“Plaintiff”) believes that Defendant Hollie Green was

        properly served with a copy of the Complaint on November 24, 2020, and that her

        deadline to respond under Rule 12 would therefore be December 15, 2020.

     2. Defendant Hollie Green (“Defendant”) does not believe that she was properly served.

        Defendant’s counsel is willing to accept service, however, provided the parties stipulate

        to a later deadline to answer or otherwise respond to the Complaint under Rule 12.

                                             II. Stipulation

     3. In light of the above, the parties agree and stipulate as follows:

            a. Defendant’s deadline to answer or otherwise respond (including by motion) to

                Plaintiff’s Complaint is agreed to be January 22, 2020.

            b. Defendant hereby accepts service through her counsel, and will not challenge the

                sufficiency of service, subject to the agreed response date set out above.
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                                        Respectfully submitted,

                                        THOMPSON COBURN LLP



                                        By /s/ Jennifer R. Ecklund
                                           Jennifer R. Ecklund, TX – 24045626
                                           jecklund@thompsoncoburn.com
                                           John P. Atkins, TX – 24097326
                                           jatkins@thompsoncoburn.com
                                           2100 Ross Avenue
                                           Suite 600
                                           Dallas, Texas 75201
                                           972-629-7100
                                           FAX 972-629-7171

                                        Attorneys for Defendant



AGREED AS TO FORM AND SUBSTANCE


/s/ Joseph D. Sibley__________                 /s/ Jennifer R. Ecklund______________
Joseph D. Sibley                               Jennifer R. Ecklund, TX – 24045626
State Bar No. 24047203                         THOMPSON COBURN LLP
sibley@camarasibley.com                        jecklund@thompsoncoburn.com
Camara & Sibley LLP                            2100 Ross Avenue
1108 Lavaca St.                                Suite 600
Suite 110263                                   Dallas, TX 75201
Austin, TX 78701                               972-629-7100
Telephone: (713) 966-6789                      FAX 972-629-7171
Fax: (713) 583-1131

For Plaintiff Dr. Thomas Hubbard, PhD          For Defendant Hollie Green
